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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                      Plaintiff,

        v.                                                                    2:05 CR 19-4
                                                                              2:05 CR 19-5
                                                                               (MAXWELL)

 LARRY A. LYONS,
 BILLY GEORGE LEARY, JR.,

                      Defendants.

                                          ORDER

        By Order entered July 26, 2005, the Court referred any pre-trial motions to be filed

 on behalf of either the United States of America or the Defendant in the above-styled

 criminal action to United States Magistrate Judge John S. Kaull, pursuant to 28 U.S.C. §§

 636(b)(1)(A) and (B), and authorized Magistrate Judge Kaull to conduct any necessary

 hearings in resolving said motions or in preparation for submission of proposed findings of

 fact and recommendation for disposition.

        On August 16, 2005, Defendant Lyons filed his Motion To Suppress, and on August

 25, 2005, Defendant Leary filed his Motion to Suppress. The Defendant’s Motions To

 Suppress sought the suppression of all evidence seized after what Defendant allege to

 have been an illegal stop. The Government filed a response to Defendants’ Motions to

 Suppress on August 29, 2005. The Docket in the above-styled criminal action reflects that

 a hearing on the Defendant’s Motion To Suppress was conducted by United States

 Magistrate Judge John S. Kaull on September 14, 2005. Thereafter, on September 28,

 2005, Magistrate Judge Kaull entered his Report And Recommendation, wherein he

 recommends that the Court deny Defendants’ Motions To Suppress.
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          Magistrate Kaull’s Report And Recommendation advised the parties, pursuant to 28

 U.S.C. § 636(b)(1), that any objections to said Report And Recommendation which were

 not filed, in writing, with the Clerk of Court within ten (10) days after being served with a

 copy of said Opinion/Report And Recommendation, were waived. No objections have been

 filed.

          The Court has reviewed the record before it and has conducted a de novo review

 of all matters before Magistrate Judge John S. Kaull in considering Defendants Lyons and

 Leary’s Motions To Suppress. Based upon its review, it appears to the Court that

 Magistrate Judge Kaull’s Report And Recommendation accurately reflects the law

 applicable to the facts and circumstances before the Court in the above-styled criminal

 action. Accordingly, it is

          ORDERED that the Report And Recommendation entered by United States

 Magistrate Judge Kaull in the above-styled criminal action be, and the same hereby is,

 ACCEPTED in whole. It is further

          ORDERED that Defendant Larry Lyons’ Motion To Suppress be, and the same

 hereby is, DENIED in accordance with the recommendation of Magistrate Judge Kaull. It

 is further

          ORDERED that Defendant Billy George Leary, Jr.’s Motion To Suppress be, and the

 same hereby is, DENIED in accordance with the recommendation of Magistrate Judge

 Kaull.

          The Clerk of Court is directed to transmit copies of this order to counsel of record.

          ENTER: November 8th , 2005

                                                        _     _/s/ Robert E. Maxwell       __
                                                            United States District Judge

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